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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                         :
JAMAR HOLT
                                         :

     v.                                  :     Civil Action No. DKC 16-2393
                                               Criminal No. DKC 13-0204-004
                                         :
UNITED STATES OF AMERICA
                                         :

                              MEMORANDUM OPINION

     Presently pending and ready for resolution is the 28 U.S.C.

§ 2255 motion to vacate, set aside, or correct filed by Petitioner

Jamar Holt.      (ECF No. 176).    Also pending are:        a motion to reduce

sentence, (ECF No. 173), a motion for leave to file supplement,

(ECF No. 194), and a motion for expedited review (ECF No. 225).

For the following reasons, the motions to vacate and to reduce

sentence will be denied, and the motion to expedite will be denied

as moot.

     Jamar Holt pleaded guilty on February 4, 2014, to two counts

of the third superseding indictment: (1) conspiracy to distribute

and possess with intent to distribute five kilograms or more of

cocaine    and   one   kilogram    or    more    of   heroin,      and   (2)   money

laundering.      The guilty plea was entered pursuant to a written

agreement under Fed.R.Crim.P. 11(c)(1)(C).              The parties agreed to

a 240-month sentence.           In his attempts to obtain a sentence

reduction, Mr. Holt argues that he was improperly classified as a

career    offender     and,   absent    that    designation,       his   sentencing
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guideline range has been lowered by an amendment so that he is

eligible for a reduction.             Despite the changing landscape of

sentencing jurisprudence in the last several years, Mr. Holt’s

quest is unsuccessful.

     The Presentence Report calculated that, pursuant to U.S.S.G.

§ 4B1.1, the total combined offense level was 34, with a criminal

history category of VI.       Mr. Holt was found to be a career offender

because   he    had   two    prior    felony    convictions       for   controlled

substance offenses.1        The guideline range was 262 to 327 months.

The court imposed the agreed-upon variance sentence due to the

binding   plea,    noting    the     specific   motivations       of    each   side.

Petitioner did not appeal.

     On June 27, 2016, Petitioner filed his § 2255 motion and

raised    two     grounds     for     challenging     his     career      offender

designation:      violation of due process and prior conviction older

than fifteen years.         The first argument asserts that his “career

offender” sentence was imposed in violation of due process.                      He

cites to Johnson v. United States, 135 S.Ct. 2551 (2015), to argue




     1  In the Circuit Court for Baltimore City, Maryland, Case
No. 198026044, Mr. Holt was convicted of conspiracy to distribute
cocaine and heroin. In this court, Case No. AMD-03-0558, he was
convicted of conspiracy to distribute heroin.
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that the residual clause is unconstitutionally vague.              The second

argument asserts that one of the predicate felony convictions was

more than 15 years old, and therefore should not have been scored

against him under the career offender provisions.

        On June 21, 2017, Petitioner, now represented by counsel,

filed a motion for leave to supplement the § 2255 motion, to

include reliance on Mathis v. United States, 136 S.Ct. 2243 (2016)

and sought a period of time in which to do so.                (ECF No. 194).

The government opposed the motion, (ECF No. 195), and counsel

replied (ECF No. 196).

        Mr. Holt had also filed a motion for modification of sentence

pursuant to 18 U.S.C. § 3582(c)(2), (ECF No. 173), and a supplement

(ECF No. 186).      The government responded.        (ECF No. 189).          Mr.

Holt replied, (ECF No. 192), and also filed a supplement (ECF No.

218).

I.      Motion to Vacate Pursuant to 28 U.S.C. § 2255

        Section 2255 requires a petitioner asserting constitutional

error to prove by a preponderance of the evidence that “the

sentence was imposed in violation of the Constitution or laws of

the United States, or that the court was without jurisdiction to

impose such sentence, or that the sentence was in excess of the

maximum authorized by law.”         “[T]he scope of review of non-

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constitutional error is more limited than that of constitutional

error; a non[-]constitutional error does not provide a basis for

collateral attack unless it involves ‘a fundamental defect which

inherently results in a complete miscarriage of justice,’ or is

‘inconsistent with the rudimentary demands of fair procedure.’”

United States v. Mikalajunas, 186 F.3d 490, 495–96 (4th                      Cir.

1999) (internal citations omitted).

     While a pro se movant is entitled to have his arguments

reviewed with appropriate consideration, see Gordon v. Leeke, 574

F.2d 1147, 1151–53 (4th Cir. 1978), cert. denied, 439 U.S. 970

(1978), if the § 2255 motion, along with the files and records of

the case, conclusively shows that he is entitled to no relief, a

hearing on the motion is unnecessary and the claims raised in the

motion may be dismissed summarily.            28 U.S.C. § 2255.

     The Government contends that neither the initial petition nor

the supplement is timely filed, but that position relies on

rejecting the merits of the Petitioner’s arguments.                  In essence,

the petition and the supplement fail because neither Johnson nor

Mathis provide an avenue for relief in a § 2255 proceeding.

     First, improper application of the career offender guideline

is not a fundamental defect cognizable in a § 2255 proceeding.

United   States   v.   Foote,    784   F.3d    931,   940   (4th    Cir.    2015).
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Moreover, the void for vagueness doctrine does not apply to the

sentencing guidelines.        Beckles v. United States, 137 S.Ct. 886,

892 (2017).     It is not entirely clear what Mr. Holt is arguing

with reference to the 15-year limitation.                  The applicable time

period in the guidelines for a prior conviction is one that was

“imposed within fifteen years of the defendant’s commencement of

the instant offense,” or “that resulted in the defendant being

incarcerated    during   any     part   of     such   fifteen-year     period.”

U.S.S.G. § 4A1.2(e).         It does not matter when the prior offense

was committed.     His state court conviction for conspiracy to

distribute    heroin   and    cocaine   resulted      in   imprisonment    until

November 29, 2000. The offense of conviction in this case involved

conduct beginning in October 2012, less than 15 years later. Thus,

regardless of when Mr. Holt was sentenced, or resentenced, the

conviction would be scored.

     The supplement to the petition argues that § 5-602 of the

Maryland Code does not provide a qualifying conviction.                        Very

recently, in United States v. Johnson, 945 F.3d 174, 2019 WL

6884510, at *5–7 (4th Cir. Dec. 18, 2019), the United States Court

of Appeals for the Fourth Circuit held that a Maryland conviction

for possession of a controlled substance with intent to distribute

constitutes a “controlled substance offense” under the Sentencing
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Guidelines.      On    the   other    hand,       it     may   be   that     conspiracy

convictions without an overt act requirement do not qualify.

United States v. Norman, 935 F.3d 232, 239 (4th Cir. 2019); United

States v. Whitley, 737 Fed. Appx. 147, 149 (4th Cir. 2018).

Nevertheless, the issue continues to be an improper application of

the career-offender guidelines, an issue not cognizable in a § 2255

proceeding.   Foote, 784 F.3d at 940.

     Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. § 2255, the court is also required to issue or

deny a certificate of appealability when it enters a final order

adverse to the applicant.            A certificate of appealability is a

“jurisdictional       prerequisite”     to       an    appeal     from     the   court’s

earlier order.    United States v. Hadden, 475 F.3d 652, 659 (4th

Cir. 2007).   A certificate of appealability may issue “only if the

applicant has made a substantial showing of the denial of a

constitutional right.”        28 U.S.C. § 2253(c)(2).                   Where the court

denies a petitioner’s motion on its merits, a petitioner satisfies

this standard by demonstrating that reasonable jurists would find

the court’s assessment of the claim debatable or wrong.                          Slack v.

McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell,

537 U.S. 322, 336–38 (2003).         Upon review of the record, the court



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finds    that   Petitioner     has   not   satisfied   the   above    standard.

Accordingly, a certificate of appealability will not issue.

II.     Motion to Modify Pursuant to 18 U.S.C. §3582(c)(2).

        Pursuant to 18 U.S.C. § 3582(c)(2):

             in the case of a defendant who has been
             sentenced to a term of imprisonment based on
             a sentencing range that has subsequently been
             lowered by the Sentencing Commission pursuant
             to 28 U.S.C. 994(o), upon motion of the
             defendant . . . , the court may reduce the
             term of imprisonment, after considering the
             factors set forth in section 3553(a) to the
             extent that they are applicable, if such a
             reduction is consistent with applicable policy
             statements    issued    by   the    Sentencing
             Commission.

        Mr. Holt claims that he qualifies for consideration because

Amendment 782 reduces the offense level applicable to his case.

Amendment 782 lowered the base offense levels for certain drug

offenses listed in U.S.S.G. §§ 2D1.1 and 2D1.11.                 The Government

opposes his motion, contending both that he was sentenced pursuant

to a “C” plea to a specific term of years, and that the career

offender guidelines are not affected by Amendment 782.                         In a

supplement, Mr. Holt cites Hughes v. United States, 138 S.Ct. 1765

(2018), which held that relief under § 3582(c)(2) is available

when the guideline range was a relevant part of the framework used

to accept the “C” agreement or determine the sentence.                  He then


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makes the same argument rejected above, i.e., that he was not a

career offender because of the Mathis error.

     Mr. Holt’s guidelines have not been lowered by the Sentencing

Commission.   The drug quantity guidelines were overridden by the

career offender guidelines and Amendment 782 has no impact.                See

United States v. Jones, 2019 WL 1559023, at *2–3 (W.D.Va. Apr. 10,

2019).   Accordingly, he is not eligible for relief at this time

and his motion will be denied.

III. Conclusion

     For the foregoing reasons, Mr. Holt’s motion pursuant to 28

U.S.C. §2255, even when considering the supplement, will be denied

and a certificate of appealability will not issue.           The motion for

reduction of sentence will also be denied.


                                           /s/
                                 DEBORAH K. CHASANOW
                                 United States District Judge




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